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                       Exhibit D
                                                                                   Case 2:22-cv-00047-GW-GJS Document 74-4 Filed 09/26/22 Page 2 of 9 Page ID #:983




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                                                                                     6 Attorneys for Non-Party New Era ADR

                                                                                     7
                                                                                                           IN THE UNITED STATES DISTRICT COURT
                                                                                     8           FOR THE CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

                                                                                     9 Skot Heckman, Luis Ponce, Jeanene Popp, and              Case No.: 22-cv-00047-GW-GJS
                                                                                       Jacob Roberts, on behalf of themselves and all
                                                                                    10 those similarly situated,                                NEW ERA ADR’S RESPONSES AND
                                                                                                                                                OBJECTIONS TO PLAINTIFFS’
                 A limited liability partnership formed in the State of Delaware




                                                                                    11                         Plaintiff,                       SUBPOENA TO TESTIFY AT A
                                                                                                                                                DEPOSITION IN A CIVIL ACTION
                                                                                    12         v.
REED SMITH LLP




                                                                                    13 Live Nation Entertainment, Inc., and                 The Honorable George H. Wu
                                                                                       Ticketmaster LLC,
                                                                                    14
                                                                                                             Defendant.
                                                                                    15
                                                                                       TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                                                                    16
                                                                                              PLEASE TAKEN NOTICE that non-party New Era ADR (“New Era”) hereby makes the
                                                                                    17
                                                                                       following responses and objections, in response to Plaintiffs’ Subpoena to Testify at a Deposition in a
                                                                                    18 Civil Action (“Subpoena”).
                                                                                    19                                        GENERAL OBJECTIONS
                                                                                    20         1.      New Era objects to the Subpoena as requesting information and testimony that exceeds

                                                                                    21 the scope of permissible discovery in this matter, as ordered by the Court. Specifically, the Court
                                                                                       ruled on June 9, 2022 that Plaintiffs were only permitted to conduct limited discovery on the issue of
                                                                                    22
                                                                                       unconscionability. See Order on Plaintiffs’ Motion for Discovery, ECF No. 50, at p. 4. Therefore, the
                                                                                    23
                                                                                       scope of permissible discovery in this matter is narrow, and especially where it involves a non-party
                                                                                    24 such as New Era. See Abernathy v. DoorDash, Inc., 3:19-cv-7545-WHA, ECF No. 156 at pp. 16:12-

                                                                                    25 18:17, 18:24-25 (N.D. Cal) (finding that only communications between an ADR provider and

                                                                                    26 defendant were relevant to the issue of unconscionability in the context of a motion to compel

                                                                                    27 arbitration).

                                                                                    28                                                    -1-
                                                                                           NEW ERA ADR’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL
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                                                                                     1          2.      New Era objects to the Subpoena to the extent it seeks to impose obligations beyond
                                                                                     2 the scope required by the Federal Rules of Civil Procedure and the Local Rules of the Court.
                                                                                              3.      New Era objects to the Subpoena to the extent it seeks information protected by the
                                                                                     3
                                                                                         work product doctrine or any other applicable privilege. Inadvertent disclosure of any information
                                                                                     4
                                                                                         shall not waive any claim of privilege or work product protection.
                                                                                     5
                                                                                                4.      New Era objects to the Subpoena to the extent that it seeks information that New Era
                                                                                     6 is obligated to maintain as confidential, including but not limited to confidential and proprietary

                                                                                     7 business information of itself and third parties.

                                                                                     8          5.      As a non-party, New Era objects to the Subpoena to the extent that it exceeds the

                                                                                     9 permissible scope of discovery by seeking information that is not relevant to any party’s claims or
                                                                                       defenses nor likely to lead to the discovery of admissible evidence. New Era objects to the Subpoena
                                                                                    10
                                                                                       to the extent it seeks cumulative information available by less intrusive or burdensome means or from
                 A limited liability partnership formed in the State of Delaware




                                                                                    11
                                                                                       the parties to this matter.
                                                                                    12         6.       New Era objects to the Subpoena to the extent it seeks information not in its possession,
REED SMITH LLP




                                                                                    13 custody, or control.

                                                                                    14          7.      By making a specific objection to any particular deposition topic, New Era does not

                                                                                    15 imply that the specific objection is not applicable to any other topic or that the General Objections are
                                                                                       inapplicable to that topic.
                                                                                    16
                                                                                               8.      New Era reserves its rights to object to further inquiry or any effort to compel testimony
                                                                                    17
                                                                                       beyond the scope of the objections and responses below. These objections and responses are based
                                                                                    18
                                                                                       upon information currently available to New Era through due inquiry. New Era reserves its right to
                                                                                    19 supplement its objections and responses if it discovers new information relevant to this litigation, and

                                                                                    20 to modify, amend, or supplement the General Objections, any specific objections, and/or any response.

                                                                                    21          9.      These General Objections are incorporated into each response below as if fully set forth
                                                                                         in that response.
                                                                                    22

                                                                                    23

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                                                                                     1                   RESPONSES AND OBJECTIONS TO DEPOSITION TOPICS
                                                                                     2
                                                                                         TOPIC NO. 1:
                                                                                     3
                                                                                               All of YOUR COMMUNICATIONS with DEFENDANTS and/or LATHAM & WATKINS,
                                                                                     4
                                                                                         including all of YOUR COMMUNICATIONS with DEFENDANTS and/or LATHAM & WATKINS
                                                                                     5
                                                                                         about YOUR Rules and Procedures, YOUR Terms and Conditions, and the terms of YOUR
                                                                                     6 subscription agreements with DEFENDANTS.

                                                                                     7 RESPONSE TO TOPIC NO. 1:

                                                                                     8         New Era objects to this topic as calling for information and testimony protected by the

                                                                                     9 attorney-client privilege and/or work product doctrine. New Era will not provide testimony on
                                                                                       privileged topics.
                                                                                    10
                                                                                               Subject to the foregoing objections, New Era will provide deposition testimony on this topic.
                 A limited liability partnership formed in the State of Delaware




                                                                                    11

                                                                                    12 TOPIC NO. 2.:
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                                                                                    13         All of YOUR contracts with DEFENDANTS, including all of DEFENDANTS’ subscription
                                                                                    14 agreements with YOU.

                                                                                    15 RESPONSE TO TOPIC NO. 2:
                                                                                            New Era objects to this topic as overbroad and disproportional to the needs of the case.
                                                                                    16
                                                                                            Subject to the foregoing objections, New Era will provide deposition testimony on this topic.
                                                                                    17

                                                                                    18
                                                                                         TOPIC NO. 3.:
                                                                                    19         The dates and amounts of each and every payment to YOU from DEFENDANTS and/or
                                                                                    20 LATHAM & WATKINS.

                                                                                    21 RESPONSE TO TOPIC NO. 3:
                                                                                            New Era objects to this topic as overbroad and disproportional to the needs of the case.
                                                                                    22
                                                                                            Subject to the foregoing objections, New Era will provide deposition testimony on this topic.
                                                                                    23

                                                                                    24
                                                                                         TOPIC NO. 4.:
                                                                                    25         YOUR Rules and Procedures, including all drafts thereof.
                                                                                    26

                                                                                    27

                                                                                    28                                                    -3-
                                                                                           NEW ERA ADR’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL
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                                                                                     1 RESPONSE TO TOPIC NO. 4:

                                                                                     2            New Era objects to this topic as overbroad and disproportional to the needs of the case insofar
                                                                                         as it concerns “all” drafts. New Era further objects to this topic to the extent that it suggests any
                                                                                     3
                                                                                         obligation upon New Era to maintain all drafts of its Rules and Procedures.
                                                                                     4
                                                                                                  Notwithstanding the foregoing objections, New Era will provide deposition testimony on this
                                                                                     5
                                                                                         topic.
                                                                                     6

                                                                                     7 TOPIC NO. 5.:

                                                                                     8            YOUR Terms and Conditions, including all drafts thereof

                                                                                     9 RESPONSE TO TOPIC NO. 5:
                                                                                               New Era objects to this topic as overbroad and disproportional to the needs of the case insofar
                                                                                    10
                                                                                       as it concerns “all” drafts. New Era further objects to this topic to the extent that it suggests any
                 A limited liability partnership formed in the State of Delaware




                                                                                    11
                                                                                       obligation upon New Era to maintain all drafts of its Terms and Conditions.
                                                                                    12         Notwithstanding the foregoing objections, New Era will provide deposition testimony on this
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                                                                                    13 topic.

                                                                                    14

                                                                                    15 TOPIC NO. 6.:
                                                                                               YOUR advertisement of NEW ERA ADR.
                                                                                    16
                                                                                       RESPONSE TO TOPIC NO. 6:
                                                                                    17
                                                                                               New Era objects to this topic as vague and overbroad as to the term “advertisement.” New Era
                                                                                    18
                                                                                       further objects to this topic as irrelevant to Plaintiffs’ claims at issue and disproportionate to the needs
                                                                                    19 of the case. Accordingly, New Era will not provide deposition testimony on this topic.

                                                                                    20

                                                                                    21 TOPIC NO. 7.:
                                                                                              YOUR efforts to raise capital, including the efforts that led to investments from Alumni
                                                                                    22
                                                                                       Ventures Group, Motivate Venture Capital, Purple Arch Ventures, Nextview Ventures, Jump Capital,
                                                                                    23
                                                                                       David Kalt, Sean Chou, Pete Kadens, and/or Lon Chow.
                                                                                    24
                                                                                       RESPONSE TO TOPIC NO. 7:
                                                                                    25        New Era objects to this topic as calling for information and testimony that are irrelevant to
                                                                                    26 Plaintiffs’ claims at issue and disproportionate to the needs of the case. New Era further objects to

                                                                                    27 this topic as requesting information and testimony regarding trade secrets, confidential information,

                                                                                    28                                                     -4-
                                                                                            NEW ERA ADR’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL
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                                                                                     1 and/or other proprietary business information of itself and third parties. Accordingly, New Era will

                                                                                     2 not provide deposition testimony on this topic.

                                                                                     3
                                                                                         TOPIC NO. 8.:
                                                                                     4
                                                                                                All subscription agreements YOU have entered into, with DEFENDANTS or otherwise.
                                                                                     5
                                                                                         RESPONSE TO TOPIC NO. 8:
                                                                                     6          Regarding the topic of subscription agreements with Defendants, this topic is redundant to
                                                                                     7 Topic No. 2, for which New Era will provide deposition testimony.

                                                                                     8          As to subscription agreements with other parties, New Era objects to such topic as calling for

                                                                                     9 information that is not relevant to the claims at issue, overbroad, and disproportionate to the needs of
                                                                                       the case. New Era further objects to this topic as requesting information and testimony reflecting trade
                                                                                    10
                                                                                       secrets, confidential information, and/or other proprietary business information of itself and third
                 A limited liability partnership formed in the State of Delaware




                                                                                    11
                                                                                       parties. New Era will not provide deposition testimony on such topic.
                                                                                    12
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                                                                                    13 TOPIC NO. 9.:

                                                                                    14          The number of consumer arbitrations that YOU have administered, as well as the manner in

                                                                                    15 which YOU have administered them.
                                                                                       RESPONSE TO TOPIC NO. 9:
                                                                                    16
                                                                                              New Era objects to this topic as vague and ambiguous as to the term, “the manner in which
                                                                                    17
                                                                                       YOU have administered them.” Furthermore, New Era objects to this topic as overbroad and
                                                                                    18
                                                                                       disproportionate to the needs of this case. New Era further objects to this topic as requesting
                                                                                    19 information reflecting trade secrets, confidential information, and/or other proprietary business

                                                                                    20 information of itself and third parties.

                                                                                    21          Notwithstanding the foregoing objections, New Era will meet and confer with Plaintiffs to
                                                                                         narrow the scope of this topic.
                                                                                    22

                                                                                    23
                                                                                         TOPIC NO. 10.:
                                                                                    24
                                                                                                All DOCUMENTS produced by YOU in this action or created by YOU that REFER OR
                                                                                    25 RELATE TO mass arbitration, KELLER LENKNER, YOUR Rules and Procedures, YOUR Terms

                                                                                    26 and Conditions, YOUR e-arbitration process, YOUR subscription agreements with DEFENDANTS,

                                                                                    27 YOUR subscription agreements with anyone other than DEFENDANTS, YOUR business plans for

                                                                                    28                                                     -5-
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                                                                                     1 New Era ADR, the amounts paid by any entity or person to YOU, and the amounts paid by YOU to

                                                                                     2 any entity or person.

                                                                                     3
                                                                                         RESPONSE TO TOPIC NO. 10:
                                                                                     4
                                                                                                New Era objects to this topic as vague, overbroad, and compound. New Era further objects to
                                                                                     5
                                                                                         this topic as duplicative of prior topics, as Plaintiffs previously requested deposition testimony on New
                                                                                     6 Era’s Rules and Procedures in Topic No. 4, its Terms and Conditions in Topic No. 5, its subscription

                                                                                     7 agreements with Defendants in Topics Nos. 2 and 8, and its subscription agreements with other parties

                                                                                     8 in Topic No. 8. Please refer to New Era’s prior responses and objections in relation to those topics,

                                                                                     9 as New Era incorporates them herein.
                                                                                              With respect to testimony on documents regarding mass arbitration and Keller Lenkner, New
                                                                                    10
                                                                                       Era objects to this topic as overbroad and irrelevant to the claims at issue, and disproportionate to the
                 A limited liability partnership formed in the State of Delaware




                                                                                    11
                                                                                       needs of the case.
                                                                                    12        With respect to testimony on documents relating to New Era’s e-arbitration process, New Era
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                                                                                    13 objects to such topic as being vague as to the term “e-arbitration.”

                                                                                    14          With respect to testimony on documents relating to New Era’s business plan, New Era objects

                                                                                    15 to this topic as vague and ambiguous as to the term “business plan,” overbroad, and disproportionate
                                                                                       to the needs of this case. New Era further objects to this topic as requesting information and testimony
                                                                                    16
                                                                                       reflecting trade secrets, confidential information, and/or other proprietary business information.
                                                                                    17
                                                                                       Accordingly, New Era will not provide any such testimony.
                                                                                    18
                                                                                                With respect to testimony on documents relating to the amounts paid by any entity or person
                                                                                    19 to New Era, New Era objects to this topic as vague and ambiguous as to the scope of time, manner,

                                                                                    20 and context of “amounts paid” to New Era. Furthermore, New Era objects to this topic as overbroad

                                                                                    21 and disproportionate to the needs of this case. New Era further objects to this topic as requesting
                                                                                       information and testimony reflecting trade secrets, confidential information, and/or other proprietary
                                                                                    22
                                                                                       business information. Notwithstanding those objections, New Era will provide deposition testimony
                                                                                    23
                                                                                       only as it relates to amounts paid by Defendants and/or Latham & Watkins.
                                                                                    24
                                                                                               With respect to testimony on documents relating to the amounts paid to any entity or person
                                                                                    25 by New Era, New Era objects to this topic as vague and ambiguous as to the scope of time, manner,

                                                                                    26 and context of “amounts paid” by New Era to other entities or persons, and/or “by each such entity or

                                                                                    27 person.” Furthermore, New Era objects to this topic as overbroad and disproportionate to the needs

                                                                                    28                                                     -6-
                                                                                            NEW ERA ADR’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL
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                                                                                     1 of this case. New Era further objects to this topic as requesting information and testimony reflecting

                                                                                     2 trade secrets, confidential information, and/or other proprietary business information. Accordingly,

                                                                                     3 New Era will not provide any such testimony.
                                                                                                  Subject to the foregoing objections, New Era will provide testimony only to the extent that
                                                                                     4
                                                                                         New Era has agreed to provide testimony responsive to Topics Nos. 2, 4, 5, and 8. Otherwise, New
                                                                                     5
                                                                                         Era will not provide any such testimony.
                                                                                     6

                                                                                     7 TOPIC NO. 11.:

                                                                                     8            The number of arbitrators who YOU approved to serve as arbitrators in arbitrations YOU

                                                                                     9 administer, including all of YOUR contracts with those arbitrators.
                                                                                       RESPONSE TO TOPIC NO. 11:
                                                                                    10
                                                                                               New Era objects to this topic as irrelevant, overbroad, and disproportionate to the needs of this
                 A limited liability partnership formed in the State of Delaware




                                                                                    11
                                                                                       case. New Era further objects to this topic as requesting information and testimony reflecting trade
                                                                                    12 secrets, confidential information, and/or other proprietary business information of itself and third
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                                                                                    13 parties.

                                                                                    14            Accordingly, New Era will not provide testimony on this topic as written. However, New Era

                                                                                    15 is willing to meet and confer with Plaintiffs to discuss potentially narrowing the scope of this topic.

                                                                                    16
                                                                                         TOPIC NO. 12.:
                                                                                    17
                                                                                                  The equity stakes in YOU of all arbitrators who YOU approved to serve as arbitrators in
                                                                                    18
                                                                                         arbitrations YOU administer.
                                                                                    19 RESPONSE TO TOPIC NO. 12:

                                                                                    20            New Era objects to this topic as irrelevant, overbroad, and disproportionate to the needs of this

                                                                                    21 case. New Era further objects to this topic as requesting information and testimony reflecting trade
                                                                                       secrets, confidential information, and/or other proprietary business information of itself and third
                                                                                    22
                                                                                       parties.
                                                                                    23
                                                                                                Accordingly, New Era will not provide testimony on this topic as written. However, New Era
                                                                                    24
                                                                                       is willing to meet and confer with Plaintiffs to discuss potentially narrowing the scope of this topic.
                                                                                    25

                                                                                    26

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                                                                                    28                                                     -7-
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                                                                                     1 Dated: August 1, 2022                           RILEY SAFER HOLMES & CANCILA LLP
                                                                                     2

                                                                                     3
                                                                                                                                       By: s/Sandra L. Musumeci_____
                                                                                     4                                                     Sandra L. Musumeci
                                                                                                                                           Joshua L. Roquemore
                                                                                     5                                                     Attorneys for Non-Party New Era ADR

                                                                                     6

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                                                                                    10
                 A limited liability partnership formed in the State of Delaware




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